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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA
                                                 §
VS,                                              §      CASE NO.: 3:21-CR-578-K (01)
                                                 §
JOSE AGUIRRE                                     §

             ORDER ACCEPTING REPORT AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE
                      CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the defendant, and the Report and Recommendation

Concerning Plea of Guilty of the United States Magistrate Judge, and no objections

thereto having been filed within fourteen days of service in accordance with 28 U.S.C. §

636(b)(1), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge concerning the Plea of Guilty is correct, and it

is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Plea Agreement and the Defendant is hereby adjudged guilty. Sentence will be imposed

in accordance with the Court’s scheduling order.

         SO ORDERED.

         Signed May 27th, 2022.

                                               _____________________________
                                               ED KINKEADE
                                               UNITED STATES DISTRICT JUDGE




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